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            1      JOSHUA H. LERNER, SBN 220755
                     jlerner@gibsondunn.com
            2      GIBSON, DUNN & CRUTCHER LLP
                   555 Mission Street Suite 3000
            3      San Francisco, CA 94105
                   Tel.: 415.393.8200 / Fax: 415.393.8306
            4
                   H. MARK LYON, SBN 162061
            5        mlyon@gibsondunn.com
                   GIBSON, DUNN & CRUTCHER LLP
            6      1881 Page Mill Road
                   Palo Alto, CA 94304-1211
            7      Tel.: 650.849.5300 / Fax: 650.849.5333
            8      BRIAN M. BUROKER, pro hac vice
                     bburoker@gibsondunn.com
            9      BRIAN K. ANDREA, pro hac vice            ILISSA SAMPLIN, SBN 314018
                     bandrea@gibsondunn.com                   isamplin@gibsondunn.com
          10       GIBSON, DUNN & CRUTCHER LLP              GIBSON, DUNN & CRUTCHER LLP
                   1050 Connecticut Avenue, N.W.            333 South Grand Avenue
          11       Washington, D.C. 20036                   Los Angeles, CA 90071-3197
                   Tel.: 202.955.8500 / Fax: 202.467.0539   Tel.: 213.229.7000 / Fax: 213.229.7520
          12
                   BRIAN A. ROSENTHAL, pro hac vice         ANGELIQUE KAOUNIS, SBN 209833
          13         brosenthal@gibsondunn.com                akaounis@gibsondunn.com
                   GIBSON, DUNN & CRUTCHER LLP              GIBSON, DUNN & CRUTCHER LLP
          14       200 Park Avenue                          2029 Century Park East Suite 4000
                   New York, NY 10166-0193                  Los Angeles, CA 90067
          15       Tel.: 212.351.2339 / Fax: 212.817.9539   Tel.: 310.552.8546 / Fax: 310.552.7026
          16       Attorneys for Defendant Apple Inc.
          17                             UNITED STATES DISTRICT COURT
          18                            CENTRAL DISTRICT OF CALIFORNIA
          19                                        SOUTHERN DIVISION
          20       MASIMO CORPORATION,                      CASE NO. 8:20-cv-00048-JVS (JDEx)
                   a Delaware corporation; and
          21       CERCACOR LABORATORIES, INC.,             MEMORANDUM OF POINTS AND
                   a Delaware corporation,                  AUTHORITIES IN SUPPORT OF
          22                                                DEFENDANT APPLE INC.’S
                                      Plaintiffs,           MOTION TO DISMISS THE
          23                                                THIRTEENTH CAUSE OF ACTION
                         v.                                 IN PLAINTIFFS’ THIRD AMENDED
          24                                                COMPLAINT
          25       APPLE INC.,                              Hearing:
                   a California corporation,                Date:       January 4, 2021
          26                          Defendants.           Time:       1:30 p.m.
                                                            Place:      Courtroom 10C
          27                                                Judge:      Hon. James V. Selna
          28

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            1                                 TABLE OF ABBREVIATIONS
            2
            3       Abbreviation                Document
            4       Apple                       Defendant Apple Inc.
            5
                    Masimo                      Plaintiff Masimo Corporation
            6
                    Cercacor                    Plaintiff Cercacor Laboratories, Inc.
            7
            8       Plaintiffs                  Masimo and Cercacor, collectively

            9       FAC                         Plaintiffs’ First Amended Complaint
          10        SAC                         Plaintiffs’ Second Amended Complaint
          11
                    TAC                         Plaintiffs’ Third Amended Complaint
          12
                    ’052 patent                 U.S. Patent No. 10,078,052
          13
          14        ’095 patent                 U.S. Patent No. 9,952,095

          15        ’300 patent                 U.S. Patent No. 6,792,300
          16        ’417 patent                 U.S. Patent No. 5,564,417
          17
                    ’670 patent                 U.S. Patent No. 10,247,670
          18
                    ’754 patent                 U.S. Patent No. 10,219,754
          19
                    ’763 patent                 U.S. Patent No. 6,985,763
          20
          21        ’997 patent                 U.S. Patent No. 9,723,997
          22        ’507 application            U.S. Patent Application No. 15/960,507
          23        ’832 application            U.S. Patent Application No. 15/667,832
          24
                    PTO                         U.S. Patent and Trademark Office
          25
                    IDS                         Information Disclosure Statement
          26
          27        MPEP                        Manual of Patent Examining Procedure
          28

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            1
                    RJN                         Apple’s Request for Judicial Notice in Support of Its
            2                                   Motion to Dismiss (filed concurrently herewith)
            3       RJN Decl.                   Lerner Declaration in Support of Apple’s Request for
            4                                   Judicial Notice
            5       PI Motion                   Plaintiffs’ Preliminary Injunction Motion
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            1                                     I.    INTRODUCTION
            2          Plaintiffs have failed four times to plead a viable trade secret misappropriation
            3    claim. Plaintiffs’ TAC proves that it is time to dismiss the claim with prejudice. There
            4    are three reasons to do so.
            5          First, the Court has instructed Plaintiffs twice to “describe the trade secret[s] with
            6    sufficient particularity to separate [them] from matters of general knowledge” to enable
            7    Apple “to ascertain at least the boundaries within which the secret lies.” ECF 219 at 3
            8    (quoting Acrisure of Cal., LLC v. SoCal Com. Ins. Servs., 2019 WL 4137618, at *3 (C.D.
            9    Cal. Mar. 27, 2019); ECF 60 at 7 (same). The Court also expressly advised Plaintiffs
          10     that they “must disclose” the alleged trade secrets. ECF 219 at 8. Yet Plaintiffs still fail
          11     to follow the Court’s instructions. While Plaintiffs deleted the phrase “including” from
          12     the beginning of the lists of alleged secrets in the TAC, Plaintiffs moved the problem to
          13     the end: Plaintiffs now allege the trade secrets include unidentified
          14                              of every category of alleged secrets. The TAC is just the latest
          15     move in a shell game that makes it impossible for Apple—and the Court—to discern the
          16     boundaries of the trade secret claim. Further, the individual examples continue to suffer
          17     from the same flaws the Court previously identified: they are still full of vague terms
          18     and catchall phrases like “at least.” Thus, Plaintiffs still fail to adequately plead the
          19     alleged trade secrets.
          20           Second, the reason for Plaintiffs’ shifting descriptions is now apparent: Even if
          21     the vague examples were secrets (they are not), Plaintiffs utterly failed to take reasonable
          22     efforts to protect them. Plaintiffs accused Apple of hiring Lamego to obtain Plaintiffs’
          23     trade secrets in 2014. Yet Plaintiffs plead no reasonable efforts thereafter to protect the
          24     alleged trade secrets. To the contrary, the face of the TAC shows that Plaintiffs did
          25     nothing as patent applications naming Lamego as an inventor began to publish in early
          26     2016 and every year thereafter. The patent publications contained not just Plaintiffs’
          27     claimed inventions, but the very information that Plaintiffs now allege as trade secrets.
          28     Plaintiffs’ alleged trade secrets first published more than two years before Plaintiffs filed

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            1    this case, but Plaintiffs did nothing in the interim. Each publication, according to
            2    Plaintiffs, violated Lamego’s agreements with Plaintiffs to assign inventions and protect
            3    trade secrets. But far from taking steps to protect their alleged secrets, Plaintiffs did the
            4    opposite, repeatedly citing Lamego’s patents to the PTO in IDSs without taking any
            5    steps to protect confidentiality or limit exposure. Such a proliferation of disclosure casts
            6    doubt on whether Plaintiffs ever considered this information secret before filing this
            7    case; but, the Court need not reach that question because Plaintiffs’ failure to take any
            8    reasonable steps to protect the confidentiality of the alleged secrets which published year
            9    after year can be addressed here as a matter of law.
          10           Finally, Plaintiffs fail to plead Apple’s misappropriation of any specific trade
          11     secret. As before, Plaintiffs’ allegations do not support a reasonable inference that Apple
          12     knew or had reason to know that Plaintiffs’ former employees—Lamego or O’Reilly—
          13     purportedly shared specific information comprising Plaintiffs’ alleged trade secrets.
          14     Instead, Plaintiffs’ theories of impropriety turn on two impermissible foundations: that
          15     Apple (i) should have assumed Plaintiffs’ former employees would inevitably disclose
          16     Plaintiffs’ unspecified confidential information in their employment for Apple (TAC
          17     ¶ 247), and (ii) should not have exercised its statutory right to request non-publication
          18     of certain patent applications (id., ¶ 248)—which Plaintiffs themselves exercise—to
          19     shield alleged misappropriation. Neither is viable. And Plaintiffs fail to allege that
          20     Apple used or disclosed any specific trade secrets—instead vaguely claiming that broad
          21     technical subject matter to which the alleged secrets pertain (i) is referenced in Apple
          22     patent filings and (ii) relates to the Apple Watch. Further, Plaintiffs fail to allege any
          23     facts supporting their theory that Apple induced either former employee to breach a duty
          24     of secrecy to Plaintiffs or that Apple is liable under a respondeat superior theory.
          25           If Plaintiffs had a valid trade secret claim against Apple, they would have taken
          26     action as soon as Apple published its first patent naming Lamego as an inventor instead
          27     of sitting on their hands for almost three years; they also would have specified the alleged
          28     secrets long ago and alleged a colorable misappropriation theory—they have not.

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            1    Plaintiffs’ trade secret claim should be dismissed with prejudice.
            2              II.    PLAINTIFFS’ CUTSA CLAIM SHOULD BE DISMISSED 1
            3    A.      Plaintiffs Still Do Not Meet the Standard for Alleging Their Trade Secrets.
            4            The Court has given Plaintiffs two opportunities to “describe the trade secret with
            5    sufficient particularity to separate it from matters of general knowledge in the trade or
            6    of special knowledge of those persons who are skilled in the trade, and to permit [Apple]
            7    to ascertain at least the boundaries within which the secret lies.” ECF 219 at 3 (quoting
            8    Acrisure, 2019 WL 4137618, at *3 (emphasis added); ECF 60 at 7 (same).
            9            1.      Plaintiffs Are Still Improperly Hedging by Pleading a Non-
                                 Exhaustive List of Alleged Trade Secrets.
          10
          11             The question once again before the Court is whether Plaintiffs’ latest amendment
          12     to their trade secret allegations “narrow[s] the scope of the alleged trade secrets” to
          13     “address the Court’s underlying concern.” ECF 219 at 7. Because Plaintiffs still fail to
          14     “provide . . . notice of the boundaries of this case,” the answer is no. Id. (quoting CitCon
          15     USA, LLC v. RiverPay Inc., 2018 WL 6813211, at *4 (N.D. Cal. Dec. 27, 2018)).
          16             The Court ruled that the threshold flaw in the SAC was that “merely stat[ing] what
          17     is ‘at least’ included” in Plaintiffs’ alleged secrets is insufficient to identify the full scope
          18     of those claimed secrets. ECF 219 at 6. That catchall language “show[ed] that Plaintiffs
          19     expressly do not intend for the . . . ‘specific trade secrets’ to be an exhaustive recitation”
          20     of what they “allege Apple misappropriated.” Id. at 5.
          21             In the TAC, Plaintiffs delete the term “including” from the introduction to the list
          22     of exemplary alleged trade secrets, but Plaintiffs do not solve the problem; they
          23     exacerbate it. The TAC still includes broad open-ended language. The difference is that
          24     Plaintiffs moved the catchall language from the beginning of the list to the end of each
          25     broad category. For each and every alleged category of trade secrets, Plaintiffs now
          26     claim as a secret the unidentified                                                      of each
          27     alleged secret in the entire category. Plaintiffs provide no specifics that explain how the
          28
                  1
                      As the Court has set out the relevant legal standard twice, Apple does not repeat it.
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            1    other alleged secrets                                            . TAC ¶¶ 40–45. Thus, the
            2    new language is at least as problematic as Plaintiffs’ prior catchall language because
            3    “[n]o details are provided for how [Plaintiffs] allegedly achieve[] the desired”
            4                                       —thus “mak[ing] it virtually impossible to distinguish
            5    the alleged trade secrets from knowledge in the field.” Jobscience, Inc. v. CVPartners,
            6    Inc., 2014 WL 1724763, at *3 (N.D. Cal. May 1, 2014); IDX Sys. Corp. v. Epic Sys.
            7    Corp., 285 F.3d 581, 584 (7th Cir. 2002) (“[A] plaintiff must do more than just identify
            8    a kind of technology and then invite the court to hunt through the details in search of
            9    items meeting the statutory definition [of a trade secret].”).
          10            Further, several of the amended alleged trade secrets still employ the catchall
          11     phrase “at least one of” followed by an open-ended list of items, thereby at best
          12     providing a floor for the alleged secrets, but no ceiling. For example, Plaintiffs’ alleged
          13
          14
          15                                 (TAC ¶ 42 (No. 1) (emphasis added)), which leaves open the
          16     possibility of Plaintiffs later adding countless other types of sensors to the list. Plaintiffs’
          17
          18
          19
          20                                                 Id. ¶ 43 (Nos. 4–5) (emphases added). These
          21     “examples” still “do not actually ‘narrow’” the preceding descriptions. ECF 219 at 6.
          22            Plaintiffs further muddle their claim with references to “Confidential
          23     Information” that is apparently distinct from their alleged trade secrets. See TAC ¶ 8
          24     (“seek[ing] relief for the theft of Plaintiffs’ highly confidential information and trade
          25     secrets” (emphasis added)); id. ¶ 229 (alleging Apple misappropriated Plaintiffs’
          26     “Confidential    Information”     as   defined—differently—in        “Lamego’s      Employee
          27     Confidentiality Agreement” (ECF 38-5 at 2; ECF 60 at 4)). At the same time, Plaintiffs
          28     define the term “Confidential Information” in the TAC to suggest equivalence with their

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            1    trade secrets.     TAC ¶ 46 (“[I]nformation in Paragraphs 40–45 is . . . Plaintiffs’
            2    ‘Confidential Information.’”). This inconsistency further renders the alleged trade
            3    secrets impermissibly vague.
            4           2.      It Is Still Impossible to Differentiate the Alleged Trade Secrets from
                                the State of the Art.
            5
            6           Each of Plaintiffs’ “technical” categories of secrets (TAC ¶¶ 40–42, 45) is
            7    described in general terms that provide no way to determine if the category is exhaustive
            8    or to distinguish the alleged secrets from information generally known in the trade.
            9                                               : As just one example, Plaintiffs allege as a
          10     trade secret
          11
          12
          13                                        TAC ¶ 40 (No. 7). Plaintiffs do not explain how basic
          14     knowledge that                                                                         can
          15     be secret. Nor do they explain how they
          16
          17                 This lack of detail leaves the “description of . . . purported ‘trade secrets’
          18     indistinguishable from matters of general knowledge within the . . . industry,” which in
          19     this case has been known for decades. CleanFish, LLC v. Sims, 2020 WL 1274991, at
          20     *9 (N.D. Cal. Mar. 17, 2020) (dismissing claim); see Imax Corp. v. Cinema Techs., Inc.,
          21     152 F.3d 1161, 1167 (9th Cir. 1998) (because plaintiff’s trade secret claim involved a
          22     “sophisticated and highly complex” system, “reasonable specificity could only be
          23     achieved by identifying the precise numerical dimensions and tolerances as trade
          24     secrets”); see e.g.,
          25
          26
          27
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            1
            2                     Moreover, allowing such broad allegations without any specifics as to
            3    how to use the alleged secret would allow Plaintiffs to later narrow any of these alleged
            4    secrets to counter Apple’s defenses—as Plaintiffs did in their reply in support of their
            5    PI Motion after Apple pointed out that Plaintiffs’ broadly alleged secrets could not be
            6    secret. Compare ECF 111-1 at 4–6, with ECF 161-1 at 2–3.
            7          Plaintiffs also describe
            8
            9
          10                TAC ¶ 40 (No. 2). Similarly, Plaintiffs describe
          11
          12
          13
          14
          15                        TAC ¶ 40 (No. 6). Plaintiffs also continue to improperly include
          16     catchall language (e.g., “optionally”). Id. (Nos. 3, 6). And Plaintiffs’ allegation of
          17
          18
          19                                                                                                .
          20     See Aetna Bldg. Maint. Co. v. West, 39 Cal. 2d 198, 206 (Cal. 1952) (“procedure for
          21     estimating the price of a new contract” not a trade secret where “any competitor in the
          22     business must consider all of the factors which enter into [Plaintiff’s] computations”).
          23                                                                 : Plaintiffs claim as secret
          24                                                 . TAC ¶ 41 (No. 3).
          25
          26          —before Plaintiffs allege Apple misappropriated the lens. See RJN Decl. Ex. 3;
          27     TAC ¶ 235 (alleging that
          28                                                                ; id. ¶ 25 (“Apple announced

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            1    the Apple Watch Series 4 on September 12, 2018”). Without more, Apple cannot
            2    discern what Plaintiffs claim to be secret about this use.
            3          Plaintiffs also claim as secret
            4
            5
            6    TAC ¶ 41 (Nos. 4–5). But Plaintiffs do not describe how to
            7
            8                                   Plaintiffs also allege that
            9
          10
          11                   Id. ¶ 41 (Nos. 1–2). But this also is too general to distinguish from general
          12     trade knowledge, as Plaintiffs’ own early patents illustrate. E.g.,
          13
          14
          15
          16                         Again, the critical point here is not whether these patents definitively
          17     disclose Plaintiffs’ alleged secrets, but that the trade secrets, as pleaded in the TAC, still
          18     lack specificity such that Apple cannot fairly determine the bounds of the alleged secrets
          19     because Plaintiffs’ broad allegations appear to cover commonly known trade
          20     information. Space Data Corp. v. X, 2017 WL 5013363, at *2 (N.D. Cal. Feb. 16, 2017)
          21     (claim dismissed where it was “not made clear which aspects of its technology and other
          22     information are part of patents and pending patent applications, if any, and which are
          23     secret” (citation omitted)).
          24                               : Plaintiffs’ allegations here also remain non-exhaustive and
          25     indistinct from trade knowledge. Plaintiffs allege that
          26
          27                                                   TAC ¶ 43 (Nos. 1–3). But Plaintiffs do not
          28     identify how or against what

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            1                                                                         . Plaintiffs also claim
            2    as secret
            3
            4                                      Id. (Nos. 4–5).
            5          Oxygen Saturation Calculation Techniques: These allegations include even less
            6    detail to separate them from general trade knowledge. For example, Plaintiffs appear to
            7    claim as secret the general process of using pulse oximetry:
            8
            9
          10
          11                      Id. ¶ 45 (Nos. 1–2). Nowhere does the TAC contain any details on this
          12                                      . See Digital Mentor, Inc. v. Ovivo USA, 2018 WL
          13     993944, at *2 (W.D. Wash. Feb. 21, 2018) (on preliminary injunction motion, “[s]imply
          14     stating that an algorithm exists and indicating that it collects information, produces an
          15     action, and indicates how to perform that action is not enough information to determine
          16     whether [defendant] has misappropriated that algorithm” (citing MAI Sys. Corp. v. Peak
          17     Comput., 991 F.2d 511, 522 (9th Cir. 1993)).
          18                                                           : This category’s allegations have
          19     not materially changed from the SAC. Rather, they still boil down to the broad ideas of
          20
          21
          22                                   . This paragraph is devoid of allegations explaining how
          23                                                                               are any different
          24     from those generally known in the physiological monitoring device industry.
          25           For example, Plaintiffs allege that their strategies include
          26
          27
          28                                                 TAC ¶ 43 (Nos. 1–4, 6). Plaintiffs do not

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            1    identify: specific products, applications, or portals, or how they work; differences
            2    between using those products inside or outside the professional patient care field; what
            3    data is collected or how it is analyzed; or how any of these “strategies” streamline
            4    medical research. And Plaintiffs still claim their product “marketing” constitutes a trade
            5    secret, even though Apple previously explained that Plaintiffs’ product sales’ locations
            6    and dates are publicly available. ECF 121 at 8 (citing Kavanagh v. Tuller, 2017 WL
            7    1496436, at *4 (S.D. Cal. Apr. 26, 2017) (disclosure “to the public through marketing
            8    and sales of [a] product” is “‘fatal to the existence of a trade secret.’” (citation omitted))).
            9    Plaintiffs also allege that
          10
          11
          12                     TAC ¶ 43 (No. 3); see Elsevier Inc. v. Doctor Evidence, LLC, 2018 WL
          13     557906, at *6 (S.D.N.Y. Jan. 23, 2018) (dismissing under the DTSA “general assertions
          14     regarding ‘analytics, analytics tools, and analytics programming’”); see also AlterG, Inc.
          15     v. Boost Treadmills LLC, 388 F. Supp. 3d 1133, 1144–46 (N.D. Cal. 2019). Plaintiffs
          16     even claim as secret the basic job of any medical professional:
          17
          18
          19                                                                       TAC ¶ 43 (No. 5); see id.
          20     (No. 2)
          21
          22                                                            This category describes the alleged
          23     secrets at such a high-level of generality that they are “thorough[]” to the point of
          24     “meaninglessness” where “[a]ny piece of information could potentially be labeled as a
          25     trade secret.” Emazing Lights LLC v. De Oca, 2016 WL 3658945, at *2 (C.D. Cal. Jan.
          26     7, 2016). Plaintiffs still cite
          27                         without explaining what information therein is allegedly secret. TAC
          28     ¶ 44 (No. 1).     This is particularly troubling because some of the information is

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            1    indisputably public. Compare RJN Decl. Ex. 17
            2                                                                                with RJN Decl.
            3    Ex. 6 at 101 (publicly available article touting Masimo’s study conducted by the same
            4    doctors). Plaintiffs also allege as secret their
            5
            6
            7                                              TAC ¶ 44 (Nos. 5–7). Again, Plaintiffs fail to
            8    explain what
            9
          10                                                 can possibly qualify as a trade secret.
          11           The other alleged secrets in this category strain credulity. Plaintiffs allege a secret
          12
          13
          14
          15
          16     TAC ¶ 44 (Nos. 2–4). Any researcher knows
          17                                                   , and the suggestion that
          18                                                            is beyond belief. See Lohan Media
          19     LLC v. Thane Int’l, Inc., 2001 WL 1827169, at *4 (C.D. Cal. Nov. 16, 2001) (on
          20     preliminary injunction, allegation “that the five payment plan worked better than the ten
          21     payment plan” was not a trade secret because it was “a concept that any first year
          22     business school student would know.”); see also Elsevier, 2018 WL 557906, at *5–6
          23     (“[A]ssessments of the risk of bias of the evidence based on the funding source” was an
          24     “extraordinarily general categor[y]” that did “not give rise to a plausible allegation of a
          25     trade secret’s existence [under the DTSA].”).
          26           Plaintiffs also allege that the
          27                                   is itself a trade secret. Such allegations of “positive . . .
          28     learnings” “are vague” and fail to state a claim. AlterG, 388 F. Supp. 3d at 1145.

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            1          Further compounding the above deficiencies is Plaintiffs’ failure to delineate
            2    which trade secrets are owned by whom. See Cal. Police Activities League v. Cal. Police
            3    Youth Charities, Inc., 2009 WL 537091, at *4 (N.D. Cal. Mar. 3, 2009) (dismissing trade
            4    secret claim because the complaint did not allege “factual basis of ownership”). Apple
            5    has thus been deprived notice of what each Plaintiff claims are its trade secrets, which
            6    affects Apple’s purported duties with respect to the information.
            7          Even assuming that the TAC sufficiently identifies one alleged trade secret (it
            8    does not), that does not satisfy Rule 8 because the alleged secrets are still engulfed within
            9    general categories of information indistinguishable from trade knowledge. Identifying
          10     only some trade secrets with particularity does not provide the necessary “notice as to
          11     the boundaries of the case when the overall allegations of Plaintiffs’ trade secrets are
          12     impermissibly broad.” ECF 219 at 7 (quoting CitCon, 2018 WL 6813211, at *4)
          13     (emphasis added); see generally Freeman Inv. Mgmt. Co., LLC v. Frank Russell Co.,
          14     2016 WL 5719819, at *11 (S.D. Cal. Sept. 30, 2016), aff’d, 729 F. App’x 590 (9th Cir.
          15     2018) (on summary judgment, “where at least some of the Plaintiff’s 492 trade secrets
          16     are not sufficiently particular[,] Plaintiff’s failure to identify those trade secrets that
          17     really were sufficiently particular does not impose a burden on either the Court or
          18     Defendant to do so for it”).
          19           3.     Plaintiffs’ Copying of Apple’s Patent Claims Does Not Provide the
                              Required Particularity.
          20
          21           Several alleged trade secrets in the TAC are simply copies of method claims from
          22     Apple’s patents, which only highlights their lack of particularity.
          23
          24
          25                      Likewise, alleged
          26
          27
          28     This is insufficient to provide notice of alleged secrets because patent claims—unlike

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            1    trade secret allegations—by their nature outline the minimum requirements to practice a
            2    patented invention. See SRI Int’l v. Matsushita Elec. Corp. of Am., 775 F.2d 1107, 1121
            3    (Fed. Cir. 1985) (“The law does not require . . . that an applicant describe in his
            4    specification every conceivable and possible future embodiment of his invention.”); see
            5    also Brenner v. Manson, 383 U.S. 519, 534 (1966).
            6          By contrast, “a [trade secret] plaintiff first must clearly identify the information”
            7    to show it “qualifies as a trade secret.” Integral Dev. Corp. v. Tolat, 675 F. App’x 700,
            8    702 (9th Cir. 2017) (emphasis added); see Agency Solutions.com, LLC v. TriZetto Grp.,
            9    Inc., 819 F. Supp. 2d 1001, 1015 (E.D. Cal. 2011) (“plaintiff must clearly identify what
          10     the ‘thing’ is that is alleged to be a trade secret,” and “be able to clearly articulate why
          11     that ‘thing’ belongs in the legal category of trade secret”). Merely copying Apple’s
          12     patent claim language, which covers embodiments that may not be expressly disclosed,
          13     is far from “clearly identifying” the claimed secrets. Plaintiffs’ alleged secrets “are [still
          14     not] defined clearly enough to stand on their own” and remain non-exhaustive in a way
          15     that “does not address the Court’s underlying concern.” ECF 219 at 7.
          16     B.    Plaintiffs’ New Allegations Prove that They Failed to Take Reasonable
                       Efforts to Maintain Secrecy of Their Alleged Trade Secrets.
          17
                       The face of the TAC demonstrates that Plaintiffs did not take reasonable efforts
          18
                 to maintain secrecy of their alleged trade secrets. A trade secret owner fails to take
          19
                 reasonable efforts where it has suspicions or knows another is disclosing its secrets but
          20
                 fails to timely object. See HiRel Connectors, Inc. v. U.S., 2003 WL 27168678, at *10–
          21
                 11 (C.D. Cal. Apr. 14, 2003). Where, as here, a plaintiff alleges that the defendant
          22
                 misappropriated one trade secret, “it is unreasonable for that plaintiff simply to assume
          23
                 that that defendant can be trusted to protect other secrets.” Intermedics, Inc. v. Ventritex,
          24
                 Inc., 822 F. Supp. 634, 653 (N.D. Cal. 1993). “[T]o withstand a motion to dismiss”
          25
                 where disclosures are alleged, the owner must allege facts showing it did not “fail to
          26
                 object.” HiRel, 2003 WL 27168678, at *10–11; see Alamar Biosciences Inc. v. Difco
          27
                 Labs. Inc., 1996 WL 648286, at *6 (E.D. Cal. Oct. 13, 1996) (“[Trade secret plaintiff]
          28

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            1    must exercise eternal vigilance. This calls for constant warnings to all . . . to whom the
            2    trade secret has become known and obtaining from each an agreement, preferably in
            3    writing, acknowledging its secrecy and promising to respect it.”). Here, Plaintiffs failed
            4    in their “responsibility to take prompt and assertive corrective action with respect to all
            5    of [their] interests whenever [they] detect[ed] a fracture in a once confidential
            6    relationship” with their former employees. Intermedics, 822 F. Supp. at 654.
            7          In HiRel, the plaintiff sued the federal government and others, alleging
            8    misappropriation of secrets in a missile component specification. 2003 WL 27168678,
            9    at *4–7. The court dismissed because the plaintiffs failed to plead reasonable efforts.
          10     Id. at *10–11. While the plaintiff—just like Plaintiffs here—pointed to its boilerplate
          11     description of NDAs and physical security to protect its trade secrets, the plaintiffs—
          12     just like Plaintiffs here—failed to plead any corrective action for years after the
          13     government published the alleged secrets. Id. Thus, the allegations of reasonable efforts
          14     were deficient as a matter of law. Id.
          15           As the timeline below demonstrates, Plaintiffs sent Apple a letter attaching
          16     Lamego’s employment agreement with Plaintiffs, and warning that employing Lamego
          17     in his area of expertise would breach the agreement. But Plaintiffs did nothing for years
          18     after patent applications that Plaintiffs claim breached the agreement began to publish.
          19     Indeed, Plaintiffs make no allegations whatsoever about their efforts to object or
          20     otherwise take action over the course of years of Apple patent publications naming
          21     Lamego as an inventor or after the release of multiple versions of the Apple Watch.
          22           2014: As the Court is well aware, Plaintiffs were watching Apple, having sent
          23     Apple a letter demanding that Apple not employ Lamego in an area that involves
          24     “healthcare technology.” ECF 38-5 at 2; ECF 60 at 5.
          25           2016: Plaintiffs were on notice of any breach of Lamego’s agreement with them
          26     more than three and a half years before they filed this case. On March 3, 2016, an
          27     application for the ’052 patent published with Lamego listed as an inventor. ECF 38-6
          28     at 2; ECF 60 at 4. While Plaintiffs now claim that Lamego was contractually required

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            1    to assign inventions in the ’052 patent to Plaintiffs (TAC ¶¶ 253–59), at the time—and
            2    for the intervening years before filing this case—Plaintiffs did nothing. They never
            3    approached Apple nor warned against future publications. Plaintiffs did, however, cite
            4    the ’052 patent in two separate IDSs to the PTO in 2018. RJN Decl. Exs. 8 at 125, 9 at
            5    153. 2
            6             2017: On August 8, 2017, the ’997 patent published and listed Lamego as an
            7    inventor. RJN Decl. Ex. 7 at 106. Plaintiffs now allege that the ’997 patent disclosed
            8    Plaintiffs’ alleged                             secrets and inventions—in breach of
            9    Lamego’s agreements with Plaintiffs. TAC ¶¶ 238–39, 283. But again, Plaintiffs did
          10     nothing at the time, nor in the intervening two years (plus), before filing this lawsuit.
          11     They never approached Apple nor warned against future publications. Instead, Plaintiffs
          12     cited the ’997 patent in two IDSs to the PTO in 2018 (RJN Decl. Exs. 8 at 124, 11 at
          13     153)—without seeking confidential treatment for those IDSs and their now-claimed
          14     secrets, even though the PTO regulations provide for such treatment where IDSs contain
          15     alleged trade secrets (see MPEP § 724.02 (RJN Decl. Ex. 13)).
          16              2018: In 2018, Plaintiffs watched two Apple patents and one patent application
          17     naming Lamego as an inventor publish—each time, they did nothing to claim secrecy.
          18     The ’095 and ’670 patents and the ’507 application published on April 24, 2018,
          19     December 20, 2018, and August 23, 2018, respectively. ECF 28-29 at 1184; ECF 28-
          20     28 at 1165; RJN Decl. Ex. 10 at 166. While Plaintiffs now claim that Lamego was
          21     contractually required to assign the inventions in the ’095 and ’670 patents and the ’507
          22     application to Plaintiffs (TAC ¶¶ 263, 270, 346), at the time—and for the intervening
          23     years before filing this case—Plaintiffs did nothing. They never approached Apple nor
          24     warned against future publications. They did, however, cite the ’095 patent in two IDSs
          25     to the PTO in 2018 and the ’670 patent in two IDSs to the PTO in 2019 and 2020. RJN
          26
          27
                  2
                     That Plaintiffs repeatedly cited to the disputed Lamego patents in their IDSs makes
          28     it all the more egregious that they have tried to keep certain patent claims under seal,
                 and withheld them from Apple’s in-house counsel and expert. E.g., ECF 61-1 at 35–36.
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            1    Decl. Exs. 8 at 125, 11 at 208, 12 at 223, 14 at 267, 269.
            2          Apple announced the Apple Watch Series 4 on September 12, 2018, widely
            3    publicizing its optical heart rate sensors capable of taking electrocardiograms. TAC
            4    ¶¶ 25, 236.     Despite this, Plaintiffs never approached Apple about its alleged
            5    incorporation of Plaintiffs’                                         trade secrets in the
            6    Apple Watch Series 4 or Apple’s alleged use of Plaintiffs’
            7                                        See id. ¶ 235–37, 241.
            8          2019: The ’754 patent published on March 5, 2019, and listed Lamego as an
            9    inventor. ECF 28-30 at 1201. Plaintiffs now allege that the ’754 patent disclosed
          10     Plaintiffs’ alleged                                   secrets and Plaintiffs’ inventions—
          11     in breach of Lamego’s agreements with Plaintiffs. TAC ¶¶ 232–33, 277. Indeed,
          12     Plaintiffs relied on a narrow slice of the ’754 patent in arguing that they could assert a
          13     trade secret claim in their PI Motion. ECF 111-1 at 7; ECF 161-1 at 2–3. But Plaintiffs
          14     did nothing in the nine months before Plaintiffs filed this lawsuit.         They never
          15     approached Apple nor warned against future publications. Plaintiffs did, however,
          16     repeatedly cite the ’754 patent in two IDSs to the PTO—including one filed two days
          17     before filing this lawsuit—without seeking any confidential treatment for the
          18     information they now claim as a secret. RJN Decl. Exs. 14 at 269, 15 at 302.
          19           In sum, Plaintiffs have not—and indeed cannot—plead reasonable efforts with
          20     respect to the alleged trade secrets. Plaintiffs took no measures to protect the alleged
          21     secrets here for years after the secrets—along with Plaintiffs’ claimed inventions—
          22     purportedly published in violation of the very contracts that Plaintiffs rely on to allege
          23     confidentiality and inventorship here.
          24     C.    After Four Tries, Plaintiffs Still Fail to Plead Facts Sufficient to Raise a
                       Plausible Claim that Apple Engaged in Misappropriation.
          25
                       1.      Plaintiffs Still Fail to Allege That Apple Knew It Was Acquiring,
          26                   Using, or Disclosing Plaintiffs’ Purported Trade Secrets.
          27
                       Plaintiffs still do not allege facts showing that Apple knew or had reason to know
          28

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            1    (i) that Lamego and O’Reilly provided Apple with Plaintiffs’ trade secrets in breach of
            2    a duty, or that Apple, without authorization, (ii) used or (iii) disclosed Plaintiffs’ alleged
            3    trade secrets. Cal. Civ. Code § 3426.1; e.g., Carr v. AutoNation Inc., 2018 WL 288018,
            4    at *2 (E.D. Cal. Jan. 4, 2018). To plead a trade secret claim, a Plaintiff must “allege
            5    facts that tend to exclude general knowledge or innocuous (i.e., competitive
            6    marketplace) explanations.” CleanFish, 2020 WL 1274991, at *11; see Eclectic Props.
            7    E., LLC v. Marcus & Millichap Co., 751 F.3d 990, 997 (9th Cir. 2014) (“plaintiffs cannot
            8    offer allegations that are merely consistent with their favored explanation but are also
            9    consistent” with an innocuous explanation); Veronica Foods Co. v. Ecklin, 2017 WL
          10     2806706, at *14 (N.D. Cal. June 29, 2017) (similar). Here, the TAC’s allegations are
          11     entirely consistent with innocent conduct, and thus, insufficient to state a
          12     misappropriation claim.
          13           First, Plaintiffs allege that in 2013 Apple and Masimo “entered into a
          14     confidentiality agreement” and held meetings that “included confidential discussions of
          15     Masimo’s technology.” TAC ¶ 19. But even if Apple was aware Masimo had
          16     confidential information, that does not support an inference that Apple knew the specific
          17     information Lamego or O’Reilly allegedly later used or disclosed contained Plaintiffs’
          18     trade secrets.    CleanFish, 2020 WL 1274991, at *10 (allegation that defendant
          19     “contacted and continuously communicated with [former employee], while . . .
          20     employed by Plaintiff” insufficient to show knowledge). Indeed, in denying Plaintiffs’
          21     PI Motion, this Court held that “Apple planning to ‘dig deep’ while meeting with
          22     Plaintiffs” did not “suggest[] anything about Lamego’s personal obligations to maintain
          23     secrecy” and so did not show that “Apple should have known that Lamego possessed
          24     trade secrets and had a duty to maintain secrecy.” ECF 198 at 7-8.3 This disconnect is
          25
          26
                  3
                    While the Court’s PI Order stated that Plaintiffs were likely to succeed in showing
          27     misappropriation (ECF 198 at 8-9), the Court’s later Order granting Apple’s Motion to
                 Dismiss Plaintiffs’ SAC did not address Plaintiffs’ failure to adequately plead
          28     misappropriation, and it stated that Plaintiffs were still required to satisfy Rule 8’s
                 pleading requirements. ECF 219 at 7.
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            1    underscored by the fact that Plaintiffs narrowed the alleged secrets at issue during the PI
            2    briefing, but they have not alleged that Apple knew the narrowed example was a secret.
            3    Compare ECF 111-1 at 4–6, with ECF 161-1 at 2–3 and TAC ¶¶ 229, 245.
            4          Second, Plaintiffs allege, “on information and belief,” that “Apple targeted and
            5    recruited Plaintiffs’ employees, including O’Reilly and Lamego, because of their
            6    knowledge of Plaintiffs’ Confidential Information.” TAC ¶ 229. Such conclusory
            7    allegations raised “on information and belief,” unaccompanied by specific factual
            8    allegations of Defendant’s alleged improper actions, are insufficient. See Blantz v. Cal.
            9    Dep’t of Corr. & Reba., Div. of Corr. Health Care Servs., 727 F.3d 917, 926–27 (9th
          10     Cir. 2013). And Plaintiffs’ allegations about recruitment are equally consistent with the
          11     truth: that Apple hired these individuals for their perceived knowledge and skill in
          12     relevant fields, which California law specifically allows. Hooked Media Grp., Inc. v.
          13     Apple Inc., 269 Cal. Rptr. 3d 406, 413 (Cal. App. 2020) (“California’s policy favoring
          14     free mobility of employees specifically allows” engineers to “dr[a]w on knowledge and
          15     skills they gained from [prior employer]” for new employer).
          16           Third, Plaintiffs allege they sent Apple a January 24, 2014 letter, warning that
          17     Lamego possessed Plaintiffs’ confidential information and attaching his employment
          18     agreement. TAC ¶ 23. But a letter stating that Lamego generally possessed unspecified
          19     confidential information—and seeking to prohibit him from working in the entire
          20     “healthcare technology” field (id.)—does not establish that Apple knew or had reason
          21     to know that Apple wrongfully acquired specific alleged trade secrets.                 See
          22     MedioStream, Inc. v. Microsoft Corp., 869 F. Supp. 2d 1095, 1114 (N.D. Cal. 2012).
          23     Plaintiffs’ reliance on the warning letter is particularly problematic because the letter
          24     violates longstanding California law that a former employer may not control a former
          25     employee’s ability to earn a living based only on the notion that the employee will
          26     “inevitably” rely on a former employer’s trade secrets. Whyte v. Schlage Lock Co., 101
          27     Cal. App. 4th 1443, 1462 (2002). Put simply, “evidence that Apple hired [employees]
          28     with knowledge of [Plaintiffs’] trade secrets and that the [employees] inevitably would

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            1    have relied on that knowledge in their work for Apple does not support a claim for
            2    improper acquisition of a trade secret.” Hooked Media, 269 Cal. Rptr. 3d at 413–14.
            3          Even if this ill-founded warning letter put Apple “on notice” that Lamego had
            4    some confidential information that he was required to keep secret (ECF 198 at 8), the
            5    letter did not specify any trade secrets (ECF 38-5 at 2; ECF 60 at 4). Thus, the letter
            6    alone cannot support an inference that Apple knew or should have known that Lamego
            7    actually disclosed to Apple or used any trade secret-protected information, as is required.
            8    CleanFish, 2020 WL 1274991, at *10. Were the result otherwise, former employers’
            9    warning letters—which (i) rely on facially void noncompete clauses (under Cal. Bus. &
          10     Prof. Code Section 16600) and (ii) do not reference specific trade secrets—would
          11     seemingly always give rise to a new employer’s knowledge of unidentified trade secrets
          12     and discourage hiring and employee mobility. This is wrong as a matter of law (Pellerin
          13     v. Honeywell Int’l, Inc., 877 F. Supp. 2d 983, 989 (S.D. Cal. 2012)), and is at odds with
          14     “California settled public policy in favor of open competition” (Edwards v. Arthur
          15     Andersen LLP, 44 Cal. 4th 937, 945 (2008)).
          16           Fourth, Plaintiffs allege Lamego “worked at Apple for less than one year,” and
          17     “Apple knew or at least should have known that Lamego could not develop” independent
          18     technology “in such a short amount of time.” TAC ¶ 229. Plaintiffs’ claim relies on
          19     rank speculation insufficient to withstand a motion to dismiss. Bell Atl. Corp. v.
          20     Twombly, 550 U.S. 544, 555 (2007) (“[Factual allegations must be enough to raise a
          21     right to relief above the speculative level[.]”). Indeed, in Hooked Media, the plaintiff
          22     argued that its former employees performed “tasks at Apple similar to the work they did
          23     [for plaintiff]” and “within weeks” created a “detailed plan” for a system “much like
          24     [plaintiff’s] version” that had allegedly “similar” source code. 269 Cal. Rptr. 3d at 413–
          25     14. The court rejected this evidence as insufficient to support a claim for improper
          26     acquisition of trade secrets. Id. The same analysis applies here. That Lamego’s tenure
          27     at Apple was productive is “merely consistent” with Plaintiffs’ allegations—it does not
          28     “plausibly suggest” Apple knew or should have known he was using or disclosing

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            1    Plaintiffs’ purported trade secrets. Twombly, 550 U.S. at 557. “[T]he mere fact that a
            2    competitor markets a product faster than it took another . . . to develop their product,
            3    does not plausibly allege that the competitor’s product must have been created with trade
            4    secrets.” M/A-COM Tech. Sols., Inc. v. Litrinium, Inc., 2019 WL 6655274, at *9 (C.D.
            5    Cal. Sept. 23, 2019).
            6          Plaintiffs’ assertion that the “Lamego Patents” were filed soon after Lamego
            7    arrived at Apple likewise does not move the needle. Plaintiffs allege no facts to support
            8    that Apple should have speculated, due to Lamego’s work pace—in an industry in which
            9    he had worked for years—that he must have misappropriated trade secrets. E.g., Lamont
          10     v. Krane, 2019 WL 2113903, at *4 (N.D. Cal. May 14, 2019) (defendant’s alleged use
          11     of AI in its cloud platform one month after meeting with inventor of AI technologies
          12     insufficient to state claim). Plaintiffs’ allegations at best may suggest Apple was aware
          13     Lamego drew on knowledge and skills he gained while working for Plaintiffs to develop
          14     a product for his new employer. That is not actionable. Hooked Media, 269 Cal. Rptr.
          15     3d at 413–14; Whyte, 101 Cal. App. 4th at 1464. And Plaintiffs fail to plead facts
          16     supporting a plausible inference that Apple knew or should have known Lamego was
          17     exceeding his own knowledge and skills. Plaintiffs’ allegations, therefore, cannot
          18     support an inference that Apple “knew that any information [Lamego used or]
          19     communicated to [it] contained trade secrets.” CleanFish, 2020 WL 1274991, at *10.
          20           Fifth, Plaintiffs allege that Apple requested non-publication of certain patent
          21     applications, and that “[o]n information and belief,” Apple normally does not do so.
          22     TAC ¶ 248. Apple’s exercise of its statutory right to not publish under 35 U.S.C.
          23     § 122(b)(2)(B)(i) does not reflect that Apple knew certain patent applications contained
          24     trade secrets. As this Court has explained, “Apple submitted more than 300 such
          25     requests in the last six years,” ECF 198 at 8–9, and importantly, it is a judicially
          26     noticeable fact that Plaintiffs also submit such requests. See RJN Decl. Ex. 16 at 308.
          27     Invoking this right cannot support a plausible inference of Apple’s requisite knowledge
          28     “within the meaning of Iqbal and Twombly”—to the contrary, “[w]hen faced with two

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            1    possible explanations, . . . plaintiffs cannot offer allegations that are ‘merely consistent
            2    with’ their favored explanation but are also consistent with the alternative
            3    explanation. . . . Something more is needed, such as facts tending to exclude the
            4    possibility that the alternative explanation is true.” In re Century Alum. Co. Sec. Litig.,
            5    729 F.3d 1104, 1108 (9th Cir. 2013) (internal quotation marks and citations omitted).
            6          2.     Plaintiffs Still Fail to Allege That Apple Acquired, Used, or Disclosed
                              Plaintiffs’ Purported Trade Secrets.
            7
            8          A trade secret plaintiff must “allege facts providing a reasonable basis for th[e]
            9    Court to infer” that the defendant improperly acquired, disclosed, or used the alleged
          10     trade secrets. Space Data, 2017 WL 5013363, at *2 (use); see Physician’s Surrogacy,
          11     Inc. v. German, 2018 WL 638229, at *8 (S.D. Cal. Jan. 31, 2018) (under DTSA,
          12     “Plaintiff must more specifically connect allegations of misappropriation to specific
          13     Defendants’ actions”). Plaintiffs have been alleging for eleven months that Apple
          14     incorporated their purported secrets in the Apple Watch and Apple’s patent filings.
          15     ECF 1 ¶¶ 179–91. Yet Plaintiffs still “do not allege which trade secrets were purportedly
          16     used, how they were used, or when they were used.” MACOM Tech. Sols. Inc. v.
          17     Litrinium, Inc., 2019 WL 4282906, at *9 (C.D. Cal. June 3, 2019). Plaintiffs instead
          18     point to similarities in product design and conduct by Apple that is consistent with
          19     innocent conduct and not actionable by itself.
          20           First, Plaintiffs assert that Apple
          21                                                                               in certain patent
          22     filings and patents. TAC ¶¶ 233, 239. But
          23                                                                           . TAC ¶ 40. And
          24     although the information is in Plaintiffs’ possession—indeed, they are the only ones who
          25     ostensibly understand the bounds of those claimed secrets, Plaintiffs fail to allege which
          26     of these sixteen purported secrets from among this set Apple allegedly “included,” when
          27     they were included, and in which patent filings. M/A COM, 2019 WL 4282906, at *9.
          28     While it is true that Plaintiffs identify portions of three issued patents that purportedly

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            1    include some alleged secrets (TAC ¶¶ 233, 239), they only vaguely allege their
            2    “Confidential Information is currently or was, at least at the time of Defendant’s
            3    misappropriation, not generally known” (id. ¶ 225 (emphasis added)). Further, the
            4    timing of alleged disclosure, including whether the alleged specific secrets were
            5    incorporated into specific patent applications, is critical, because if “‘the information is
            6    in the public domain . . . secrecy is gone [and] the trade secret is extinguished.’”
            7    Veronica Foods, 2017 WL 2806706, at *13 (citation omitted). By failing to allege how
            8    and when misappropriation occurred as to each secret, Plaintiffs fail to state a claim.
            9    MACOM, 2019 WL 4282906, at *9; Space Data, 2017 WL 5013363, at *2.
          10           Second, Plaintiffs allege “Apple implemented Plaintiffs’
          11                                           s in the Apple Watch,” pointing to aspects of the
          12     design of the Apple Watch like the inclusion of                                     . TAC
          13     ¶¶ 234–37. The mere similarity of these design features to Plaintiffs’ products is
          14     insufficient to support a reasonable inference that their inclusion in the Apple Watch
          15     resulted from misappropriation. Brown v. Adidas Int’l, 938 F. Supp. 628, 634 (S.D. Cal.
          16     1996) (similarities in product design, without more, do not support a misappropriation
          17     claim). And Plaintiffs offer no concrete allegations to support that these design features
          18     arose from misappropriation. For example, although Plaintiffs allege that Lamego was
          19     involved in discussions and experiments concerning                            while he was
          20     employed with Plaintiffs (TAC ¶ 234), Plaintiffs nowhere allege that Lamego was
          21     responsible for—or even involved with—designing the
          22     Plaintiffs identified as embodying Plaintiffs’ trade secrets (see id. ¶¶ 236–37).
          23     Requiring Plaintiffs to allege facts that “‘tend[] to exclude’ an innocent explanation,”
          24     Veronica Foods, 2017 WL 2806706, at *14, is all the more critical when dealing with
          25     technologies, like a Fresnel lens, that have existed for centuries. RJN Decl. Ex. 4.
          26           Third, Plaintiffs allege Apple misappropriated Plaintiffs’
          27
          28

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            1
            2                                             (id. ¶¶ 241–43). These allegations do not state
            3    a claim for misappropriation because they are “‘merely consistent with’ . . . a theory of
            4    innocent market entry.” Veronica Foods, 2017 WL 2806706, at *14 (citation omitted).
            5    For example,
            6
            7
            8                          with one of the leading technology providers in the world.
            9          Finally, for certain purported trade secrets, Plaintiffs allege no facts whatsoever
          10     to support an inference of misappropriation. Plaintiffs allege, “[o]n information and
          11     belief, Apple is using Plaintiffs’
          12
          13     TAC ¶ 244. These conclusory allegations, devoid of facts, are insufficient to state a
          14     claim. Space Data, 2017 WL 5013363, at *2.
          15           3.     Plaintiffs Still Fail to Allege That Apple Induced a Breach.
          16           Plaintiffs allege that Apple induced Lamego and O’Reilly to breach their duty to
          17     maintain secrecy in conclusory fashion: “on information and belief, Defendant induced
          18     its employees, including Lamego and O’Reilly, to disclose Plaintiffs’ Confidential
          19     Information.” TAC ¶ 230. The TAC in this regard provides nothing more than an
          20     “unadorned, the-defendant-unlawfully-harmed-me accusation.” Ashcroft v. Iqbal, 556
          21     U.S. 662, 678 (2009). This “naked assertion” does not meet the pleading standard. Id.
          22           Plaintiffs wrongly contend that they are not required to allege precisely how
          23     Apple induced a breach, because pleading “on information and belief” is adequate if the
          24     information “‘is not presumptively in the[ir] knowledge.’” ECF 180-1 at 20–22 (quoting
          25     Calendar Research LLC v. StubHub, Inc., 2017 WL 10378336, at *4 (C.D. Cal. Aug.
          26     16, 2017)). But unlike here, the plaintiff in Calendar Research pleaded detailed factual
          27     content including that individual defendant(s) [1] “downloaded proprietary . . .
          28     information, [2] maintained access to . . . source code, [3] planned to build a similar

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            1    group-scheduling application while working for StubHub,” and [4] “had frequent
            2    communications” with StubHub employees who disclosed that “StubHub wanted to
            3    incorporate the source code . . . into [its] existing and future applications.” Id. at *1, *4
            4    (citation omitted). Based on these allegations and others, the court concluded that
            5    Calendar Research adequately alleged that StubHub acquired trade secrets through the
            6    individual defendants’ theft. Id. Calendar Research cannot save Plaintiffs’ claim.
            7          Even if the facts were “peculiarly within” Apple’s control (they are not), that
            8    “does not excuse the requirement that the plaintiff allege something more than bare
            9    conclusions.” Menzel v. Scholastic, Inc., 2018 WL 1400386, at *3 (N.D. Cal. Mar. 19,
          10     2018); see Cutera, Inc. v. Lutronic Aesthetics, Inc., 2020 WL 4937129, at *9 (E.D. Cal.
          11     Aug. 24, 2020) (conclusory allegations of defendant’s knowledge insufficient despite
          12     question of knowledge being “peculiarly” within defendant’s control). Information and
          13     belief allegations “must still be ‘based on factual information that makes the inference
          14     of culpability plausible.’” Menzel, 2018 WL 1400386, at *2; e.g., Park v. Thompson,
          15     851 F.3d 910, 928 (9th Cir. 2017) (even though relevant facts were known only to
          16     defendant, Park pleaded sufficient facts about the “entire sequence of events”).
          17           This Court should dismiss Plaintiffs’ inducement trade secret claim, because their
          18     “bare” conclusory allegations based on information and belief are insufficient under
          19     Twombly and Iqbal. Menzel, 2018 WL 1400386, at *2–3.
          20           4.     Plaintiffs Still Fail to Allege That Apple Is Vicariously Liable Under
                              Respondeat Superior.
          21
          22           Plaintiffs fail to allege liability under the doctrine of respondeat superior at least
          23     because they fail to allege any trade secret misappropriation committed by their former
          24     employees for which Apple could be held liable. See generally Yamaguchi v. Harnsmut,
          25     106 Cal. App. 4th 472, 481 (Cal. App. 2003) (setting forth doctrinal test). For one, as
          26     discussed above (in Section II.A.), Plaintiffs fail to allege that their Confidential
          27     Information actually constitute trade secrets. Nor can Plaintiffs establish that Lamego
          28     or O’Reilly used or disclosed that Confidential Information while employed by Apple.

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            1             Plaintiffs make only conclusory “information and belief” allegations that Lamego
            2    and O’Reilly used or disclosed Plaintiffs’ Confidential Information. See, e.g., TAC
            3    ¶ 230. Plaintiffs fail to allege each of the purported trade secrets Lamego allegedly
            4    disclosed and Apple allegedly included in its patent applications. TAC ¶¶ 24–25; see
            5    supra, Section II.C.2. Generic allegations that a former employee works in a similar
            6    area and improves a competing product cannot show misappropriation. Universal
            7    Analytics, Inc. v. MacNeal-Schwendler Corp., 707 F. Supp. 1170, 1177–78 (C.D. Cal.
            8    1989), aff’d, 914 F.2d 1256 (9th Cir. 1990). Similarly, Plaintiffs’ allegations that
            9                                                                    (TAC ¶ 241) are merely
          10     consistent with innocent market entry. Veronica Foods, 2017 WL 2806706, at *14.
          11              At most, Plaintiffs allege facts showing that Lamego and O’Reilly had access to
          12     and learned of Plaintiffs’ Confidential Information while employed by Plaintiffs. TAC
          13     ¶¶ 20, 22–23, 228–29.        But mere “‘access to and acqui[sition of] trade secret
          14     information’” by a former employee “is insufficient to establish misappropriation”.
          15     Pellerin, 877 F. Supp. 2d at 989; MACOM, 2019 WL 4282906, at *9 (“mere allegation
          16     that [former employee] left … for a competitor … is insufficient to infer that [former
          17     employee] acquired, disclosed, and/or used Plaintiffs’ trade secret information”).
          18              Plaintiffs’ assertion of respondeat superior against Apple is thus nothing more
          19     than a claim based on inevitable disclosure.         Imposing vicarious liability under
          20     respondeat superior here would directly conflict with California’s rejection of the
          21     inevitable disclosure doctrine and chill employee mobility in the same way and to the
          22     same degree as the inevitable disclosure doctrine itself. See U.S. Legal Support, Inc. v.
          23     Hofioni, 2013 WL 6844756, at *11 n.8 (E.D. Cal. Dec. 20, 2013) (recognizing conflict
          24     between use of respondeat superior in misappropriation claim against new employer
          25     and inevitable disclosure doctrine); Whyte, 101 Cal. App. 4th at 1458.
          26       III.     PLAINTIFFS SHOULD BE DENIED FURTHER LEAVE TO AMEND
          27              Plaintiffs’ trade secret claim should be dismissed with prejudice. This Court’s
          28     “discretion to deny leave to amend is particularly broad where plaintiff has previously

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            1    amended the complaint.” Allen v. City of Beverly Hills, 911 F.2d 367, 373 (9th Cir.
            2    1990) (emphasis added). As the Court explained, the “general rule that parties are
            3    allowed to amend their pleadings . . . does not extend to cases in which any amendment
            4    would be an exercise in futility, or where the amended complaint would also be subject
            5    to dismissal.” ECF 219 at 8 (quoting Steckman v. Hart Brewing, 143 F.3d 1293, 1298
            6    (9th Cir. 1998)); see Abagninin v. AMVAC Chem. Corp., 545 F.3d 733, 742 (9th Cir.
            7    2008) (“[r]epeated failure to cure deficiencies” sufficient to deny leave). Further,
            8    prejudice to the opposing party “carries the greatest weight” in the analysis. ECF 219
            9    at 8 (quoting Eminence Capital v. Aspeon Inc., 316 F.3d 1048, 1052 (9th Cir. 2003)).
          10           After four chances (two after dismissal) to plead a plausible trade secret claim,
          11     Plaintiffs again have failed. Further amendment would be futile. GeoData Sys. Mgmt.,
          12     Inc. v. Am. Pac. Plastic Fabricators, Inc., 2016 WL 6601656, at *8 (C.D. Cal. July 25,
          13     2016) (dismissing with prejudice after three failed tries); see also Basalite Concrete
          14     Prod., LLC v. Nat’l Union Fire Ins. Co. of Pittsburgh, PA., 2013 WL 2156582, at *9
          15     (E.D. Cal. May 17, 2013), aff’d, 615 F. App’x 894 (9th Cir. 2015). Further amendment
          16     would also cause delay and undue prejudice to Apple, which has now spent nearly a year
          17     and millions of dollars responding to serial baseless complaints. See Barnes-Mohammed
          18     v. Cty. of Santa Barbara, 2008 WL 793479, at *5 (C.D. Cal. Mar. 24, 2008) (finding
          19     undue prejudice to defendants where plaintiff serially “failed . . . to set forth a short and
          20     plain statement of her claims, despite repeated attempts by the Court to educate her on
          21     the process”); Kilgore v. Dir., 2016 WL 8678365, at *2 (E.D. Cal. Feb. 26, 2016) (undue
          22     prejudice where amendment would cause “a considerable delay of . . . proceedings”).
          23     Plaintiffs’ trade secret claim should be dismissed without leave to amend.
          24                                       IV.   CONCLUSION
          25           Apple respectfully requests that the Court dismiss with prejudice Plaintiffs’
          26     Thirteenth Cause of Action for trade secret misappropriation.
          27
          28

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            1    Dated: November 30, 2020
            2                                            JOSHUA H. LERNER
                                                         H. MARK LYON
            3                                            BRIAN M. BUROKER
                                                         BRIAN A. ROSENTHAL
            4                                            ILISSA SAMPLIN
                                                         ANGELIQUE KAOUNIS
            5                                            BRIAN K. ANDREA
                                                         GIBSON, DUNN & CRUTCHER LLP
            6
            7                                            By: /s/ Joshua H. Lerner
                                                                        Joshua H. Lerner
            8
                                                         Attorneys for Defendant APPLE INC.
            9
          10     104247126.38

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